           Case 3:20-cv-02097-RS Document 1 Filed 03/26/20 Page 1 of 12




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     CHRIOPRACTIC, INC. and the alleged Class
7
8                                UNITED STATES DISTRICT COURT
9                             NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN FRANCISCO DIVISION
11
12    JEFFREY KATZ CHIROPRACTIC, INC.,
      a California corporation, individually and on
13    behalf of all others similarly situated,
                             Plaintiff,                    Case No.
14
      v.                                                   CLASS ACTION COMPLAINT
15
16    IBEAT, INC. d/b/a 100PLUS, a Delaware                JURY TRIAL DEMANDED
      Corporation,
17
                             Defendant.
18
19                                         I.         INTRODUCTION
20          Plaintiff Jeffrey Katz Chiropractic, Inc. (“Katz” or “Plaintiff”) brings this Class Action
21   Complaint against Defendant iBeat, Inc. d/b/a 100 Plus (“100Plus” or “Defendant”) to stop
22   Defendant’s practice of sending unsolicited fax advertisements and to obtain redress for all
23   persons injured by its conduct. Plaintiff, for its Class Action Complaint, alleges as follows upon
24   personal knowledge as to itself and its own acts and experiences, and, as to all other matters, upon
25   information and belief, including investigation conducted by its attorneys.
26                                              II.     PARTIES
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            Case 3:20-cv-02097-RS Document 1 Filed 03/26/20 Page 2 of 12




1            1.      Plaintiff Katz is a company incorporated and existing under the laws of the State of

2    California. Katz’s principal place of business is in San Francisco, California.

3            2.      Defendant 100Plus is a Delaware corporation. Its principal office address is 461

4    Bryant St, San Francisco, CA 94107.

5            3.      100Plus does business throughout the United States, including in the State of

6    California and in this District.

7                                       III.    JURISDICTION & VENUE

8            4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

9    §1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §227, et seq.

10   (“TCPA”), a federal statute. This Court also has jurisdiction under the Class Action Fairness Act,

11   28 U.S.C. § 1332 (“CAFA”), because the alleged Class consists of over 100 persons, there is

12   minimal diversity, and the claims of the class members when aggregated together exceeds $5

13   million. Further, none of the exceptions to CAFA apply.

14           5.      The Court has personal jurisdiction over Defendant and venue is proper in this

15   District because Defendant maintains its principal place of business in this District, regularly

16   conducts business in this District, and a substantial part of the events giving rise to the claims

17   asserted here occurred in or emanated from this District.

18                            IV.        COMMON ALLEGATIONS OF FACT

19           6.      This case challenges Defendant’s practice of sending unsolicited fax

20   advertisements.

21           7.      The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

22   Fax Prevention Act of 2005, 47 USC § 227 (“JFPA” or the “Act”), and the regulations

23   promulgated under the Act, prohibits a person or entity from faxing or having an agent fax

24   advertisements without the recipient’s prior express consent, invitation, and permission. The

25   JFPA provides a private right of action and provides statutory damages of $500 per violation.

26           8.      Defendant has sent facsimile transmissions of unsolicited advertisements to

27
                                               CLASS ACTION COMPLAINT
28                                                      -2-
           Case 3:20-cv-02097-RS Document 1 Filed 03/26/20 Page 3 of 12




1    Plaintiff and the Class in violation of the JFPA. (See “100Plus Fax,” a true and correct copy of

2    which is attached hereto as Exhibit A.)

3           9.      The 100Plus Fax promotes the services and goods of Defendant, namely its remote

4    patient monitoring services and related smartwatch devices.

5           10.     Plaintiff is informed and believes, and upon such information and belief avers, that

6    Defendant has sent, and continues to send, unsolicited advertisements via facsimile transmission

7    in violation of the JFPA.

8           11.     Unsolicited faxes cause damage to their recipients, who suffer concrete harm. A

9    junk fax recipient loses the use of its fax machine, paper, and ink toner.

10          12.     An unsolicited fax wastes the recipient’s time that would have been spent on

11   something else.

12          13.     A junk fax also invades the recipient’s privacy.

13          14.     Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent

14   their use for authorized outgoing faxes, cause undue wear and tear on the recipients’ fax

15   machines, and require additional labor to attempt to discern the source and purpose of the

16   unsolicited message.

17          15.     On behalf of itself and all others similarly situated, Plaintiff brings this case as a

18   class action asserting claims against Defendant under the JFPA.

19          16.     Plaintiff is informed and believes, and upon such information and belief avers, that

20   this action is based upon a common nucleus of operative fact because the facsimile transmissions

21   at issue were and are being done in the same or similar manner. This action is based on the same

22   legal theory for everyone, namely liability under the JFPA.

23          17.     This action seeks relief expressly authorized by the JFPA: (i) injunctive relief

24   enjoining Defendant, its employees, agents, representatives, contractors, affiliates, and all persons

25   and entities acting in concert with them, from sending unsolicited advertisements in violation of

26   the JFPA; and (ii) an award of statutory damages in the minimum amount of $500 for each

27
                                          CLASS ACTION COMPLAINT
28                                                     -3-
            Case 3:20-cv-02097-RS Document 1 Filed 03/26/20 Page 4 of 12




1    violation of the JFPA, and to have such damages trebled, as provided by § 227(b)(3) of the Act.

2                           V.       FACTS SPECIFIC TO PLAINTIFF KATZ

3           18.      Defendant transmitted a two-page facsimile advertisement to Plaintiff on June 20,

4    2019. A copy of the facsimile is attached hereto as Exhibit A.

5           19.      Defendant profited by, and received the benefits of, marketing of its products by

6    facsimile and is a responsible party under the JFPA.

7           20.      Defendant created or made Exhibit A, which Defendant knew or should have

8    known advertises Defendant’s goods or products and which Defendant intended to and did in fact

9    distribute to Plaintiff and the other members of the Class.

10          21.      Exhibit A is part of Defendant’s work or operations to market Defendant’s goods

11   and services.

12          22.      Exhibit A constitutes material furnished in connection with Defendant’s work or

13   operations.

14          23.      Plaintiff has never invited nor given permission to Defendant to send the Faxes and

15   had no prior relationship with Defendant.

16          24.      On information and belief, Defendant faxed the same unsolicited facsimile to

17   Plaintiff and more than 40 other recipients without first receiving the recipients’ express

18   permission or invitation.

19          25.      There is no reasonable means for Plaintiff (or any other class member) to avoid

20   receiving unauthorized faxes.

21          26.      Fax machines are left on and ready to receive the communications their owners

22   desire to receive.

23          27.      Defendant’s facsimile did not display a proper opt-out notice as required by 47

24   C.F.R. 64.1200.

25
26                               VI.    CLASS ACTION ALLEGATIONS

27
                                         CLASS ACTION COMPLAINT
28                                                    -4-
            Case 3:20-cv-02097-RS Document 1 Filed 03/26/20 Page 5 of 12




1           28.     In accordance with Fed. R. Civ. P. 23(b)(2) and (b)(3), Plaintiff brings this class

2    action pursuant to the JFPA, on behalf of the following class of persons:

3           All persons who (1) on or after four years prior to the filing of this action, (2) were
            sent, by Defendant or on Defendant’s behalf, (3) a telephone facsimile message
4           substantially similar to Exhibit A, (4) from whom Defendant claims it obtained prior
            express permission or invitation to send the faxes in the same manner as Defendant
5           claims it obtained prior express consent to fax the Plaintiff.
6           29.     The following individuals are excluded from the Class: (1) any Judge or

7    Magistrate presiding over this action and members of their families; (2) Defendant, Defendant’s

8    subsidiaries, parents, successors, predecessors, and any entity in which Defendant or their parents

9    have a controlling interest and their current or former employees, officers and directors; (3)

10   Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

11   from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;

12   and (6) persons whose claims against Defendant has been fully and finally adjudicated and/or

13   released.

14          30.     Plaintiff anticipates the need to amend the class definition following appropriate

15   discovery.

16          31.     Class Size (Fed. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon

17   such information and belief avers, that the number of persons and entities of the Plaintiff Class is

18   numerous and joinder of all members is impracticable.

19          32.     Plaintiff is informed and believes, and upon such information and belief avers, that

20   the number of class members is in the thousands.

21          33.     Commonality (Fed. R. Civ. P. 23 (a) (2)): Common questions of law and fact apply

22   to the claims of all class members. Common material questions of fact and law include, but are

23   not limited to, the following:

24                  a.      Whether the Defendant sent unsolicited fax advertisements;

25                  b.      Whether the Defendant’s fax advertised the commercial availability of

26                  property, goods, or services;

27
                                         CLASS ACTION COMPLAINT
28                                                    -5-
            Case 3:20-cv-02097-RS Document 1 Filed 03/26/20 Page 6 of 12




1                   c.      Whether the Defendant procured prior express permission or invitation

2                   from the recipients to send the faxes;

3                   d.      Whether the Defendant faxed advertisements without first obtaining the

4                   recipient’s prior permission or invitation;

5                   e.      Whether the Faxes contained an “opt-out notice” that complies with the

6                   requirements of § (b)(1)(C)(iii) of the Act, and the regulations promulgated

7                   thereunder, and the effect of the failure to comply with such requirements;

8                   f.      Whether the Defendant should be enjoined from faxing advertisements in

9                   the future;

10                  g.      Whether the Plaintiff and the other members of the Class are entitled to

11                  statutory damages; and

12                  h.      Whether the Defendant sent the faxed advertisements knowingly or

13                  willingly such that the Court should award treble damages.

14          34.     Typicality (Fed. R. Civ. P. 23 (a) (3)): The Plaintiff’s claims are typical of the

15   claims of all class members. The Plaintiff received the Faxes sent by or on behalf of the

16   Defendant advertising goods and services of the Defendant during the Class Period. The Plaintiff

17   is making the same claims and seeking the same relief for itself and all class members based upon

18   the same federal statute. The Defendant has acted the same or in a similar manner with respect to

19   the Plaintiff and all the class members.

20          35.     Fair and Adequate Representation (Fed. R. Civ. P. 23 (a) (4)): The Plaintiff will

21   fairly and adequately represent and protect the interests of the Class. It is interested in this matter,

22   has no conflicts and has retained experienced class counsel to represent the Class.

23          36.     Common Conduct (Fed. R. Civ. P. 23 (b) (2)): Class certification is appropriate

24   because the Defendant has acted and refused to act in the same or similar manner with respect to

25   all class members thereby making injunctive and declaratory relief appropriate. The Plaintiff

26   demands such relief as authorized by 47 U.S.C. §227.

27
                                           CLASS ACTION COMPLAINT
28                                                     -6-
           Case 3:20-cv-02097-RS Document 1 Filed 03/26/20 Page 7 of 12




1           37.     Predominance, Superiority, and Manageability (Fed. R. Civ. P. 23 (b) (3)):

2    Common questions of law and fact predominate over any questions affecting only individual

3    members, and a class action is superior to other methods for the fair and efficient adjudication of

4    the controversy because:

5                   a.      Proof of the claims of the Plaintiff will also prove the claims of the Class

6                   without the need for separate or individualized proceedings;

7                   b.      Evidence regarding defenses or any exceptions to liability that the

8                   Defendant may assert and prove will come from the Defendant’s records and will

9                   not require individualized or separate inquiries or proceedings;

10                  c.      The Defendant has acted and are continuing to act pursuant to common

11                  policies or practices in the same or similar manner with respect to all class

12                  members;

13                  d.      The amount likely to be recovered by individual class members does not

14                  support individual litigation. A class action will permit a large number of relatively

15                  small claims involving virtually identical facts and legal issues to be resolved

16                  efficiently in one (1) proceeding based upon common proofs; and

17                  e.      This case is manageable as a class action in that: (i) the Defendant

18                  identified persons or entities to receive the fax transmission and it is believed that

19                  the Defendant’s computer and business records will enable the Plaintiff to readily

20                  identify class members and establish liability and damages; (ii) liability and

21                  damages can be established for the Plaintiff and the Class with the same common

22                  proofs; (iii) statutory damages are provided for in the statute and are the same for

23                  all class members and can be calculated in the same or a similar manner; (iv) a

24                  class action will result in an orderly and expeditious administration of claims and it

25                  will foster economics of time, effort and expense; (v) a class action will contribute

26                  to uniformity of decisions concerning the Defendant’s practices; and (vi) as a

27
                                         CLASS ACTION COMPLAINT
28                                                    -7-
            Case 3:20-cv-02097-RS Document 1 Filed 03/26/20 Page 8 of 12




1                    practical matter, the claims of the Class are likely to go unaddressed absent class

2                    certification.

3                                  VII. FIRST CAUSE OF ACTION
                     Claim for Relief for Violation of the JFPA, 47 U.S.C. § 227, et seq
4                                 (On Behalf of Plaintiff and the Class)
5              38.   Plaintiff incorporates by reference the foregoing allegations as if fully set forth

6    herein.

7              39.   The JFPA makes unlawful for any person to “use any telephone facsimile machine,

8    computer or other device to send, to a telephone facsimile machine, an unsolicited advertisement

9    …” 47 U.S.C. § 227(b)(1)(C).

10             40.   The JFPA defines “unsolicited advertisement” as “any material advertising the

11   commercial availability or quality of any property, goods, or services which is transmitted to any

12   person without that person's prior express invitation or permission, in writing or otherwise.” 47

13   U.S.C. § 227 (a) (5).

14             41.   The faxes sent by Defendant advertised Defendant’s services and goods, including

15   its smart watch and monitoring system which are commercial services and goods, and the faxes

16   are advertisements under the TCPA.

17             42.   Plaintiff and the other class members never gave prior express consent, permission

18   or invitation to receive the faxes.

19             43.   Plaintiff is informed and believes, and upon such information and belief avers, that

20   during the period preceding four years of the filing of this Complaint and repeatedly thereafter,

21   Defendant has sent via facsimile transmission from telephone facsimile machines, computers, or

22   other devices to telephone facsimile machines of members of the Plaintiff Class faxes that

23   constitute advertisements under the JFPA that were transmitted to persons or entities without their

24   prior express permission or invitation. By virtue thereof, Defendant violated the JFPA and the

25   regulations promulgated thereunder. Plaintiff is informed and believes, and upon such information

26   and belief avers, that Defendant continue to send unsolicited advertisements via facsimile

27
                                           CLASS ACTION COMPLAINT
28                                                     -8-
            Case 3:20-cv-02097-RS Document 1 Filed 03/26/20 Page 9 of 12




1    transmission in violation of the JFPA and the regulations promulgated thereunder, and absent

2    intervention by this Court, will do so in the future.

3           44.       The TCPA/JFPA provides a private right of action to bring this action on behalf of

4    Plaintiff and the Plaintiff Class to redress Defendant’s violations of the Act and provides for

5    statutory damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is

6    appropriate. Id.

7           45.       The Defendant knew or should have known that (a) the Plaintiff and the other class

8    members had not given express invitation or permission for the Defendant or anybody else to fax

9    advertisements about the Defendant’s goods or services and (b) the faxes constituted an

10   advertisement.

11          46.       The Defendant’s actions caused damages to the Plaintiff and the other class

12   members. Receiving the Defendant’s junk faxes caused the recipients to lose paper and toner

13   consumed in the printing of the Defendant’s faxes. The faxes are annoying and invade Plaintiff’s

14   privacy. Moreover, the Defendant’s faxes used the Plaintiff's fax machine.

15          47.       The Defendant’s fax cost the Plaintiff time, as the Plaintiff and its employees

16   wasted their time receiving, reviewing and routing the Defendant’s unauthorized faxes. That time

17   otherwise would have been spent on the Plaintiff's business activities. The 100Plus Fax

18   unlawfully invaded the Plaintiff’s and other class members’ privacy interests in being left alone.

19          48.       The injury and property damage sustained by Plaintiff and the other class members

20   from the sending of Defendant’s advertisements occurred outside of Defendant’s premises.

21          49.       Opt-Out Notice Requirements. To the extent that Defendant claim any sort of

22   established business relationship with Plaintiff or members of the Class, the 100Plus Fax is still

23   unlawful because of Defendant’s failure to include sufficient opt-out notice.

24          50.       The JFPA strengthened the prohibitions against the sending of unsolicited

25   advertisements by requiring, in §(b)(1)(C)(iii) of the Act, that senders of faxed advertisements

26   place a clear and conspicuous notice on the first page of the transmission that contains the

27
                                           CLASS ACTION COMPLAINT
28                                                     -9-
           Case 3:20-cv-02097-RS Document 1 Filed 03/26/20 Page 10 of 12




1    following among other things (hereinafter collectively the “Opt-Out Notice Requirements”).

2                           1.      a statement that the recipient is legally entitled to opt-out of

3                   receiving future faxed advertisements – knowing that he or she has the

4                   legal right to request an opt-out gives impetus for recipients to make such a

5                   request, if desired;

6                           2.      a statement that the sender must honor a recipient’s opt-out

7                   request within 30 days and the sender’s failure to do so is unlawful –

8                   thereby encouraging recipients to opt-out, if they did not want future faxes,

9                   by advising them that their opt-out requests will have legal “teeth”;

10                          3.      a statement advising the recipient that he or she may opt-out

11                  with respect to all of his or its facsimile telephone numbers and not just the

12                  ones that receive a faxed advertisement from the sender – thereby

13                  instructing a recipient on how to make a valid opt-out request for all of his

14                  or its fax machines.

15          The requirement of (1) above is incorporated from § (b)(D)(ii) of the Act. The requirement

16   of (2) above is incorporated from § (b)(D)(ii) of the Act and the rules and regulations of the

17   Federal Communications Commission (the “FCC”) in ¶31 of its 2006 Report and Order (In the

18   Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act, Junk

19   Prevention Act of 2005, 21 F.C.C.R. 3787, 2006 WL 901720, which rules and regulations took

20   effect on August 1, 2006). The requirements of (3) above are contained in § (b)(2)(E) of the Act

21   and incorporated into the Opt-Out Notice Requirements via § (b)(2)(D)(ii). Compliance with the

22   Opt-Out Notice Requirements is neither difficult nor costly. The Opt-Out Notice Requirements

23   are important consumer protections bestowed by Congress upon the owners of fax machines

24   giving them the right, and means, to stop unwanted faxed advertisements. As a result of such

25   requirements, a sender of a faxed advertisement who fails to comply with the Opt-Out Notice

26   Requirements has, by definition, transmitted an unsolicited advertisement under the JFPA. This is

27
                                           CLASS ACTION COMPLAINT
28                                                    -10-
               Case 3:20-cv-02097-RS Document 1 Filed 03/26/20 Page 11 of 12




1    because such a sender can neither claim that the recipients of the faxes advertisement gave “prior

2    express permission or invitation” to receive the Faxes nor can the sender claim the exemption

3    from liability contained in § (b)(C)(1) of the Act.

4               51.    Defendant sent the 100Plus Fax via facsimile transmission from telephone

5    facsimile machines, computers, or other devices to the telephone facsimile machines of Plaintiff

6    and members of the Plaintiff Class. The 100Plus Fax constituted an advertisement under the Act.

7    Defendant failed to comply with the Opt-Out Requirements in connection with the fax because

8    the fax fail to apprise recipients of their legal right to opt out. The faxes also do not advise that

9    Defendant must honor any opt-out request within 30 days. The faxes were transmitted to persons

10   or entities without their prior express permission or invitation and/or Defendant is precluded from

11   asserting any prior express permission or invitation because of the failure to comply with the Opt-

12   Out Notice Requirements. By virtue thereof, Defendant violated the JFPA and the regulations

13   promulgated thereunder by sending the Faxes via facsimile transmission to Plaintiff and members

14   of the Class.

15              52.    Plaintiff is entitled to $500 per violation, to be trebled if willfulness is found.

16                                       VIII. PRAYER FOR RELIEF

17              WHEREFORE, Plaintiff Katz, on behalf of itself and the Class, prays for the following

18   relief:

19                     1.      An order certifying this case as a class action on behalf of the Class as

20   defined above; appointing Plaintiff as the representative of the Class and appointing its attorneys

21   as Class Counsel;

22                    2.       An award of actual monetary loss from such violations or the sum of five

23   hundred dollars ($500.00) for each violation, whichever is greater, to be trebled where the faxes

24   were knowingly or willfully sent, all to be paid into a common fund for the benefit of the Plaintiff

25   and the Class Members;

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27
                                             CLASS ACTION COMPLAINT
28                                                       -11-
           Case 3:20-cv-02097-RS Document 1 Filed 03/26/20 Page 12 of 12




1                  3.       An order declaring that Defendant’s faxes constitute unsolicited

2    advertisements, that they lack the required opt out language, and that Defendant sent the faxes

3    without first obtaining prior express invitation, permission or consent of the recipients, and

4    enjoining Defendant from sending further faxes to Plaintiff and the Class without first obtaining

5    prior express invitation or permission or that fail to contain appropriate opt out language, and

6    otherwise protecting the interests of the Class;

7                   4.      An award of pre-judgment interest;

8                   5.      An award of reasonable attorneys’ fees and costs to be paid out of the

9    common fund prayed for above; and

10                  6.      Such further and other relief the Court deems reasonable and just.

11                                         IX.     JURY DEMAND

12          Plaintiff requests a trial by jury of all claims that can be so tried.

13
     Dated: March 26, 2020                          JEFFREY KATZ CHRIPRACTIC, INC.
14                                                  individually and on behalf of all others similarly
                                                    situated,
15
                                                    By: /s/ Rebecca Davis
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26                                                  Counsel for Plaintiff and the Putative Class
                                                    *pro hac vice application to be filed
27
                                          CLASS ACTION COMPLAINT
28                                                      -12-
